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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW HAMPSHIRE


 ALISON SHEEHAN,                                   Case No.: 1:22-cv-00068-SM
          Plaintiff,
                                                   STIPULATION OF DISMISSAL AS TO
 v.                                                DEFENDANT EXPERIAN
                                                   INFORMATION SOLUTIONS, INC.

 SUNTRUST BANKS INC.; EQUIFAX
 INFORMATION SERVICES LLC;
 EXPERIAN INFORMATION SOLUTIONS,
 INC.; and TRANSUNION, LLC

          Defendants.

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff and Defendant Experian Information

Solutions, Inc. hereby jointly stipulate that Experian Information Solutions, Inc. may be

dismissed with prejudice, with each of the parties to bear their own fees and costs. Plaintiff’s

claims against SunTrust Banks Inc. remain pending.


        Respectfully submitted July 19, 2022




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                                                     Counsel for Defendant
                                                     Experian Information Solutions, Inc.




                                 CERTIFICATE OF SERVICE

     I hereby certify that on July 19, 2022, I electronically transmitted the foregoing document to

the Clerk’s Office using the ECF system for filing and transmittal of a Notice of Electronic Filing

to all CM/ECF registrants of record in this matter.


        By: /s/ Dennis C. Hogan




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